           Case 1:14-mc-02548-VEC Document 77 USDC             Filed 10/16/20
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                                                               DOCUMENT
                                                               ELECTRONICALLY FILED
                                                               DOC #:
UNITED STATES DISTRICT COURT                                   DATE FILED: 10/16/2020
SOUTHERN DISTRICT OF NEW YORK
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IN RE:                                                       :
                                                             :           14-MD-2548 (VEC)
COMMODITY EXCHANGE, INC., GOLD                               :           14-MC-2548 (VEC)
FUTURES AND OPTIONS TRADING                                  :
LITIGATION                                                   :
                                                             :
This Document Relates to All Actions                         :
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VALERIE CAPRONI, United States District Judge:

       WHEREAS on October 14, 2020, Plaintiffs filed a motion for the issuance of Letters

Rogatory as to six individuals currently residing in the United Kingdom, Dkt. 448;

       IT IS HEREBY ORDERED that should any Defendants wish to respond, they must do so

by no later than Friday, October 30, 2020.


SO ORDERED.

Date: October 16, 2020                              _________________________________
      New York, NY                                  VALERIE CAPRONI
                                                    United States District Judge
